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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

LaDonna Dennis,                                  )
                                                 )
Plaintiff,                                       )
                                                 )      No:
v.                                               )
                                                 )
National Credit Systems, Inc., a Georgia         )
Corporation; Cedric Keith, Individually, and     )
as Agent, Apparent Agent, Servant, and/or        )
Employee of National Credit Systems, Inc.;       )
Willie Love, Individually, and as Agent,         )
Apparent Agent, Servant, and/or Employee         )
of National Credit Systems, Inc.; and Mike       )
Cook, Individually, and as Agent, Apparent       )
Agent, Servant, and/or Employee of               )
National Credit Systems, Inc.;                   )
                                                 )      JURY DEMANDED
Defendants.                                      )

                               COMPLAINT AT LAW


        NOW COMES Plaintiff, LaDonna Dennis, by her Attorneys, Robert J.
Semrad & Associates, L.L.C., and pursuant to this Complaint at Law, states the
following against the above named Defendants, to wit: National Credit
Systems, Inc., a Georgia Corporation; Cedric Keith, Willie Love, and Mike
Cook, Individually, and as agents, apparent agents, servants, and/or employees
of National Credit Systems, Inc.
                                  JURISDICTION


1.      The jurisdiction of the court is invoked pursuant to the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and this
Court’s supplementary jurisdictional powers. Venue is proper as the actions
that give rise to this complaint occurred, Plaintiff resides, and Defendants
conduct business within this District.



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                                       PARTIES

2.       Plaintiff is a citizen of the County of Lake, State of Illinois, and United
States of America, and is a “consumer” as that term is defined by 15 U.S.C. §
1692(a)(3).
3.      Defendant, National Credit Services, Inc., (hereinafter “NCSI”) is a
Georgia Corporation conducting business in the County of Lake, State of Illinois,
and United States of America and is a “debt collector” as that term is defined by 15
U.S.C. § 1692(a)(6).
4.      Defendants, Cedric Keith, Willie Love, and Mike Cook are natural
persons conducting business in the County of Lake, State of Illinois, and United
States of America and each is a “debt collector” as that term is defined by 15
U.S.C. § 1692(a)(6).
5.      At all relevant times, Cedric Keith, Willie Love, and Mike Cook were the
agents, apparent agents, servants, and/or employees of NCSI, and were acting in
the course and scope of their agency, servitude and/or employment.


                              FACTUAL ALLEGATIONS


6.      In 2008 and/or 2009, Plaintiff allegedly incurred a debt to for damage to
her former dwelling apartment.
7.      This debt was for personal use.
8.      This debt was a “debt” as that term is defined by 15 U.S.C. § 1692(a)(5).
9.      In 2009 and/or 2010, Cedric Keith, Willie Love, and Mike Cook began
calling Plaintiff and attempted to collect said debt.
10.     During a number of said telephone calls, Cedric Keith, Willie Love, and
Mike Cook called Plaintiff’s employer after they were informed she was not
allowed to take personal calls at work.
11.     During a number of said telephone calls, Cedric Keith, Willie Love, and
Mike Cook, threatened Plaintiff with negative credit reporting actions,
threatened to repossess vehicle, and made other threats.



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12.    Defendants did not have the present ability or intent to carry out said
threats.
13.    A number of said phone calls were made to Plaintiff before 8:00 a.m.


                                     COUNT I
           Plaintiff v. NCSI, Cedric Keith, Willie Love, and Mike Cook
                         Fair Debt Collection Practices Act

1-13. Plaintiff restates and re-alleges paragraphs 1-13 of the common counts,
as and for paragraphs 1-13 of Count I, as though fully set forth herein.
14.    The aforementioned telephone calls from Cedric Keith, Willie Love, and
Mike Cook, to Plaintiff, were collection communications in violation of provisions
of the FDCPA, as aforesaid.
15.    As a direct and proximate result of the aforementioned actions, Plaintiff
suffered injuries of a personal and pecuniary nature including, but not limited to:
exacerbation of pre-existing medical conditions, anxiety, embarrassment, and
emotional and physical harm.
16.    As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to
actual damages pursuant to 15 U.S.C. § 1692(k)(a)(1); statutory damages in an
amount up to $1,000.00 per incident, pursuant to 15 U.S.C. § 1692(k)(a)(2)(A);
and reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692(k)(a)(3)
from Defendants.


WHEREFORE, Plaintiff prays that judgment be entered:


      against Defendant, NCSI; and Defendants, Cedric Keith, Willie Love,
and Mike Cook, Individually, and as agents, apparent agents, servants, and/or
employees of NCSI; and each of them, in favor of Plaintiff, for an award of actual
damages pursuant to 15 U.S.C. § 1692(k)(a)(1);
      against Defendant, NCSI; and Defendants, Cedric Keith, Willie Love,
and Mike Cook, Individually, and as agents, apparent agents, servants, and/or
employees of NCSI; and each of them, in favor of Plaintiff, for an award of


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statutory damages of $1,000.00 per incident, pursuant to 15 U.S.C.
§1692(k)(a)(2)(A);
      against Defendant, NCSI; and Defendants, Cedric Keith, Willie Love,
and Mike Cook, Individually, and as agents, apparent agents, servants, and/or
employees of NCSI; and each of them, and in favor of Plaintiff, for an award of
costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §
1692(k)(a)(3); and;
      for any other such further relief as may be just and proper.


                                     COUNT II
                                  Plaintiff v. NCSI
                                    Negligence

1-13. Plaintiff restates and re-alleges paragraphs 1-13 of the common counts,
as and for paragraphs 1-13 of Count II, as though fully set forth herein.
14.    At all times relevant, NCSI, by and through its agents, servants, and/or
employees, knew, or should have known, that Cedric Keith, Willie Love, and
Mike Cook were likely to violate provisions of the FDCPA when collecting debts
from Plaintiff and others, at the time it hired Cedric Keith, Willie Love, and
Mike Cook.
15.    At all times relevant, NCSI, by and through its agents, servants, and/or
employees, knew, or should have known, that Cedric Keith, Willie Love, and
Mike Cook were violating provisions of the FDCPA when collecting debts from
Plaintiff and others, throughout the employ of Cedric Keith, Willie Love, and
Mike Cook.
16.    At all times relevant, NCSI, by and through its agents, servants, and/or
employees, knew, or should have known, that Cedric Keith, Willie Love, and
Mike Cook, required proper training in order to comply with the FDCPA and that
without proper training were likely to violate the FDCPA.
17.    At all times relevant, NCSI had a duty to exercise due care in the hiring,
retention, training, and supervision of the debt collectors in its employ.




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18.    Notwithstanding the aforesaid duty, NCSI, by and through its agents,
apparent agents, servants, and or employees breached its duty in one or more of
the following ways:
       a.     Carelessly and negligently hired Cedric Keith, Willie Love, and
              Mike Cook;
       b.     Carelessly and negligently failed to properly train Cedric Keith,
              Willie Love, and Mike Cook;
       c.     Carelessly and negligently retained Cedric Keith, Willie Love, and
              Mike Cook; and
       d.     Carelessly and negligently, failed to properly supervise Cedric
              Keith, Willie Love, and Mike Cook.
19.    As a direct and proximate result of the aforementioned actions and/or
omissions, Cedric Keith, Willie Love, and Mike Cook violated the FDCPA as
aforesaid while attempting to collect a debt from Plaintiff.
20.    As a direct and proximate result of the aforementioned actions and/or
omissions, Plaintiff suffered injuries of a personal and pecuniary nature including,
but not limited to: exacerbation of pre-existing medical conditions, anxiety,
embarrassment, and emotional and physical harm.


WHEREFORE, Plaintiff prays that judgment be entered:


      against Defendant, NCSI, and in favor of Plaintiff, for an award of actual
       damages;
      against Defendant, NCSI, for an award of costs of suit; and
      for any other such further relief as may be just and proper.


                                     COUNT III
                                  Plaintiff v. NCSI
                           Willful and Wanton Conduct

1-13. Plaintiff restates and re-alleges paragraphs 1-13 of the common counts,
as and for paragraphs 1-13 of Count III, as though fully set forth herein.



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14.     At all times relevant, NCSI, by and through its agents, servants, and/or
employees, knew, or should have known, that Cedric Keith, Willie Love, and
Mike Cook were likely to violate provisions of the FDCPA when collecting debts
from Plaintiff and others, at the time it hired Cedric Keith, Willie Love, and
Mike Cook.
15.     At all times relevant, NCSI, by and through its agents, servants, and/or
employees, knew, or should have known, that Cedric Keith, Willie Love, and
Mike Cook were violating provisions of the FDCPA when collecting debts from
Plaintiff and others, throughout its employ of Cedric Keith, Willie Love, and
Mike Cook.
16.     At all times relevant, NCSI, by and through its agents, servants, and/or
employees, knew, or should have known, that Cedric Keith, Willie Love, and
Mike Cook, required proper training in order to comply with the FDCPA and that
without proper training, they were likely to violate the FDCPA.
17.     At all times relevant, NCSI had a duty to exercise due care in the hiring,
retention, training, and supervision of the debt collectors in its employ.
18.     Notwithstanding the aforesaid said duty, and in conscious disregard to,
and in utter disregard for the rights of those it was attempting to collect from,
including Plaintiff, NCSI, by and through its agents, apparent agents, servants,
and or employees acted willfully and wantonly in one or more of the following
ways:
        a.    Willfully and wantonly hired Cedric Keith, Willie Love, and Mike
              Cook;
        b.    Willfully and wantonly failed to properly train Cedric Keith, Willie
              Love, and Mike Cook;
        c.    Willfully and wantonly retained Cedric Keith, Willie Love, and
              Mike Cook; and
        d.    Willfully and wantonly failed to properly supervise Cedric Keith,
              Willie Love, and Mike Cook.
19.     As a direct and proximate result of the aforementioned actions and/or
omissions, Plaintiff suffered injuries of a personal and pecuniary nature including,



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but not limited to: exacerbation of pre-existing medical conditions, anxiety,
embarrassment, and emotional and physical harm.


WHEREFORE, Plaintiff prays that judgment be entered:


      against Defendant, NCSI, and in favor of Plaintiff, for an award of actual
       damages;
      against Defendant, NCSI, and in favor of Plaintiff, for an award of punitive
       damages;
      against Defendant, NCSI, for an award of costs of suit; and
      for any other such further relief as may be just and proper.


Respectfully Submitted,

/s/ Christian D. Elenbaas
Christian D. Elenbaas
ARDC 6291530

Robert J. Semrad & Associates, L.L.C.
Attorneys for Plaintiff
20 S. Clark St., 28th Floor
Chicago, Illinois 60603
Ph 312-913-0625 ext. 170
Fax 312-476-8530




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